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                      EXHIBIT A
     MRS-L-000114-22 01/19/2022 2:04:47 PM Pg 1 of 9 Trans ID: LCV2022215558
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     MRS-L-000114-22 01/19/2022 2:04:47 PM Pg 7 of 9 Trans ID: LCV2022215558
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     MRS-L-000114-22 01/19/2022 2:04:47 PM Pg 8 of 9 Trans ID: LCV2022215558
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      MRS-L-000114-22 01/19/2022 2:04:47 PM Pg 9 of 9 Trans ID: LCV2022215558
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         MRS-L-000114-22 01/19/2022 2:04:47 PM Pg 1 of 1 Trans ID: LCV2022215558
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                        Civil Case Information Statement
Case Details: MORRIS | Civil Part Docket# L-000114-22

Case Caption: DUDHWALA NEERAV VS CHOICE                          Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
HOTELS INTERN ATIONAL                                            Document Type: Complaint with Jury Demand
Case Initiation Date: 01/19/2022                                 Jury Demand: YES - 6 JURORS
Attorney Name: FRED S SHAHROOZ-SCAMPATO                          Is this a professional malpractice case? NO
Firm Name: FRED SHAHROOZ SCAMPATO                                Related cases pending: NO
Address: 121 SOUTH EUCLID AVE 2ND FL                             If yes, list docket numbers:
WESTFIELD NJ 07090                                               Do you anticipate adding any parties (arising out of same
Phone: 9083019095                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Dudhwala, Neerav
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Neerav Dudhwala? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Employer/Employee
Does the statute governing this case provide for payment of fees by the losing party? YES
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

01/19/2022                                                                        /s/ FRED S SHAHROOZ-SCAMPATO
Dated                                                                                                     Signed
            MRS L 000114-22 01/20/2022 4:37:37 AM Pg 1 of 1 Trans ID: LCV2022229394
      Case 2:22-cv-00873-ES-MAH Document 1-1 Filed 02/17/22 Page 12 of 13 PageID: 18
MORRIS COUNTY
SUPERIOR COURT
COURT STREET
MORRISTOWN        NJ 07960
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (862) 397-5700
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   JANUARY 19, 2022
                              RE:     DUDHWALA NEERAV VS CHOICE HOTELS INTERN ATIONAL
                              DOCKET: MRS L -000114 22

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 3.

     DISCOVERY IS   450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON STEPHAN C. HANSBURY

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       001
AT:   (862) 397-5700 EXT 75347.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: FRED S. SHAHROOZ-SCAMPATO
                                             FRED SHAHROOZ SCAMPATO
                                             121 SOUTH EUCLID AVE
                                             2ND FL
                                             WESTFIELD        NJ 07090

ECOURTS
       MRS-L-000114-22 01/20/2022 3:10:13 PM Pg 1 of 1 Trans ID: LCV2022247224
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Montclair, New Jersey 07042
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email: LFarber@LFarberLaw.com
Attorneys for Plaintiff

NEERAV DUDHWALA,                                    SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION: MORRIS COUNTY
                                       Plaintiff,   DOCKET NO. MRS-L-000114-22

                       v.                                         CIVIL ACTION

CHOICE HOTELS INTERNATIONAL                          NOTICE OF APPEARANCE
SERVICES CORPORATION D/B/A
CHOICE HOTELS, et al,

                                    Defendants.

       PLEASE TAKE NOTICE that the undersigned hereby enters an appearance in the

above-entitled action as co-counsel on behalf of the plaintiff.

                                                      LESLIE A. FARBER, LLC
                                                      Attorneys for Plaintiff

                                                      ________________________
Dated: January 20, 2022                       By:     Leslie A. Farber
